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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

for the
Eastern District of Virginia [~|

 

 

Channing Jones )
Plaintiff )
Vv. ) Case No. 4:21-cv-00006
National Railroad Passenger Corporation )
Defendant )
APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

Channing Jones, Plaintiff

Date: 01/12/2021 fs/ Seth D. Scott

Attorney's signature

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